









Dismissed and Memorandum Opinion filed June 3, 2004









Dismissed and Memorandum Opinion filed June 3, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00473-CR

____________

&nbsp;

RICHARD JONES,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
185th District Court

Harris County,
Texas

Trial Court Cause No. 977,515

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to burglary.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, on March 19, 2004, the trial court sentenced
appellant to confinement for four years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed June 3, 2004.

Panel consists of Justices Yates,
Anderson, and Hudson.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





